Case 2:O4-cr-20l40-.]PI\/| Document 168 Filed 04/18/05 Page 1 of 2 Page|D 225

:N THE UNITED STATES DISTRICT COURT F"~E"--¥‘ ~f'
FOR THE wESTERN DISTRICT 0F TENNESSEE
wEsTERN DIVISION 05 APR 13

 

ROBERT F\’. DF `i:":OLlO

UNITED STATES OF AMERICA, * CLEHK. U.S. Drsr_ er
* W.D. op TN. MEMPH|$'
Plaintiff, *
* Cr. NO. Od-ZOlqO-Ml
vS. *
~Jr
ERIC BALKIN, *
~k
Defendant. *

 

ORDER DISMISSING COUNT 3 OF INDICTMENT

 

Upen motion cf the United Stetes, it is hereby ORDERED that
Count 3 cf the indictment against the defendant is hereby

diemissed.

ENTERED this §§ day cf Aprii, 2005.

NWM

JON HI PPS MCCALLA
Uni ed Stetes District Judge

This document entered on the docket sheet in con_lpT'anca

with eula 55 and/or 32(b) FHC¢P on ‘/'L£»US ,_W__ -» /Qj?

   

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